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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


   SUN CHEMICAL CORPORATION,
                                                   Civil Action No. 2:20-6252 (SRC-CLW)
                    Plaintiff,

   vs.
                                                         THIRD AMENDED PRETRIAL
   AMERICAN INTERNATIONAL GROUP,                            SCHEDULING ORDER
   INC.; AMERICAN HOME INSURANCE;
   NATIONAL UNION FIRE INSURANCE
   COMPANY OF PITTSBURGH, PA; and
   LANDMARK INSURANCE COMPANY,

                    Defendants.



         THIS MATTER having come before the Court for a scheduling conference pursuant to
  Rule 16 of the Federal Rules of Civil Procedure on January 20, 2022, and the parties having
  reviewed the Court’s Civil Case Management Order as well as the Local Civil Rules, and for good
  cause shown,

         IT IS on this ____ day of January, 2022;

         ORDERED THAT the next event in this matter will be a telephone conference on
  _____________ at _______ am/pm; and FURTHER ORDERED that this matter will proceed as
  follows:

  1.     Fact Discovery Deadline. Fact discovery is to remain open through November 2, 2022.
         All fact witness depositions must be completed by the close of fact discovery. No discovery
         is to be issued or engaged in beyond that date, except upon application and for good cause
         shown.

  2.     Motions to Add New Parties. Any motion to add new parties, whether by amended or
         third-party complaint, must be electronically filed no later than August 15, 2022.

  3.     Motions to Amend Pleadings. Any motion to amend pleadings must be electronically
         filed no later than August 15, 2022.

  4.     Rule 26 Disclosures. The parties shall exchange disclosures pursuant to Rule 26 no later
         than October 15, 2020.

  5.     Interrogatories. The parties may serve interrogatories limited to 40 single questions
         including subparts, on or before November 15, 2020, which shall be responded to by
         January 15, 2021.
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  6.    Document Requests. The parties may serve requests for production of documents on or
        before November 15, 2020, which shall be responded to by January 15, 2021. The parties
        agree that they will serve their initial document productions on or before November 8,
        2021.

  7.    Depositions. The number of depositions to be taken by each side shall not exceed 15. If
        the parties believe they need additional depositions and can show good cause for same they
        can, jointly or individually, approach the Court for permission.

  8.    Electronic Discovery. The parties are directed to Rule 26(f), as amended, which, inter
        alia, addresses preservation of discoverable information, discovery of electronically stored
        information, and claims of privilege or work product protection. The parties are also
        directed to Local Civil Rule 26.1(d) which describes the obligations of counsel with regard
        to their clients’ information management systems.

  9.    Discovery Disputes. Please refer to the Court’s Civil Case Management Order.

  10.   Motion Practice. Please refer to the Court’s Civil Case Management Order.

  11.   Expert Reports.

        a)     Plaintiff’s expert reports shall be served no later than December 1, 2022;
        b)     Defendants’ expert reports, including responsive expert reports, shall be served no
               later than February 2, 2023;
        c)     Plaintiff’s responsive and rebuttal expert reports shall be served no later than April
               3, 2023;
        d)     Defendants’ rebuttal expert reports shall be served no later than May 1, 2023; and
        e)     Expert depositions shall be completed no later than June 15, 2023.

  12.   Form and Content of Expert Reports. All expert reports must comport with the form and
        content requirements set forth in Rule 26(a)(2)(B). No expert shall testify at trial as to any
        opinions or base those opinions on facts not substantially disclosed in the expert’s report.

  13.   Extensions and Adjournments. Please refer to the Court’s Civil Case Management Order.

  14.   Protective Orders. Any proposed confidentiality order agreed to by the parties must
        strictly comply with Rule 26(c), Local Civil Rule 5.3, and applicable case law. Please also
        refer to the Court’s Civil Case Management Order.

  15.   Local Rules. The parties are directed to the Local Civil Rules for any other matter not
        addressed by this Order or the Court’s Civil Case Management Order.




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  16.   FAILURE TO COMPLY WITH THE TERMS OF THIS ORDER OR ANY OTHER
        ORDERS WILL RESULT IN SANCTIONS.




                                           /s/ Cathy L. Waldor
                                           CATHY L. WALDOR
                                           United States Magistrate Judge




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